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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO.: 2:13-cr-73-FtM-38DNF

ENEDINO GALINDO


                                        ORDER1

       Before the Court is Defendant Enedino Galindo’s Motion for Early

Termination of Supervised Release filed December 18, 2020. (Doc. 94). The

Government opposes Galindo’s request, as outlined in their response filed

December 21, 2020. (Doc. 95).

       On May 29, 2013, Galindo was charged with possession of a firearm and

ammunition by a convicted felon in violation of Title 18 U.S.C. §§ 922(g)(1) and

924(a)(2) in a one-count federal Indictment. (Doc. 1). Galindo appeared before

United States Magistrate Judge Douglas N. Frazier on October 31, 2013 and

entered a plea of guilty to Count One of the Indictment (Doc. 38); that same

day the District Court accepted Galindo’s plea and adjudicated him guilty (Doc.

39). On March 28, 2014, the undersigned United States District Court Judge

sentenced Galindo to seventy-months imprisonment to be followed by three-



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years of supervised release. (Doc. 52). The Defendant was released from the

Bureau of Prisons’ custody on June 11, 2019 and commenced his term of

supervision that same day; Galindo’s term is set to expire June 10, 2022. (Doc.

94).

       Having just completed half of his three-year term of supervised release,

Galindo now motions the Court requesting early termination of his supervised

release. He claims all fees and costs have been paid, that he has maintained a

stable residence with his wife for the duration of his supervision, and that he

has been “gainfully employed” since February of this year (2020). Galindo

states United States Probation does not object to his request for early

termination and asserts his supervising officer describes him as “always

available and compliant”. (Doc. 94).

       The Government objects to Galindo’s motion for many reasons, largely

citing Galindo’s extensive criminal history and high risk of recidivism as

reasons the Court should deny the motion. AUSA Jesus Casas advises that at

the time of sentencing Galindo scored a criminal history level of (V) which the

Government contends is indicative of a high risk of recidivism and is not

consistent with early termination of supervision. AUSA Casas further argues

that the defendant has provided no reason for the Court to grant his request

other than having met the basic requirements necessary to file the motion.

Also pointing out that while Galindo indicates United States Probation has no




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objection to the motion, the supervising officer also indicated that Probation

“would ultimately defer to the Court in this matter” and Probation has filed no

documentation or recommendation in support of the motion.

      Galindo states the change in his employment was due to a “high

difference in salary”, giving the impression the change was voluntary.

However, the Government contends that Galindo has had three different jobs,

as well as periods of unemployment, while on supervision, with one former

employer reporting that Galindo was terminated for theft. Galindo’s failure to

report changes in his employment are documented in the 12A Report filed by

United States Probation in November 2019. (Doc. 92).

      Galindo’s omission of key details and misrepresentation of facts in his

motion, coupled with the details contained in the 12A Report, reflect a pattern

of dishonesty by the defendant. The Court finds Galindo’s overall employment

performance while on supervision to be less than impressive, and his failure to

provide the Court with an accurate and complete depiction of his employment

history does not weigh in Galindo’s favor when considering the motion.

      Galindo notes that he has maintained a “stable residence” with his wife

while on supervision. The Court notes that Galindo’s wife, Brenda Galindo,

participated in the instant offense charged in this case. Further, at the time

of the defendant’s arrest, Brenda Galindo was interviewed and advised that

she was unaware of any drug use by the defendant, stating she has “never




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seen” him use drugs and denies any drug usage by the defendant; the

defendant then tested positive for marijuana, cocaine and opiates. While it is

possible Brenda Galindo was unaware of her husband’s drug use, it is not

likely, and the couple’s (shared) criminal history, which includes drug charges,

would also indicate otherwise. Therefore, the Court does not find this factor to

support the request for early termination.

      However, as outlined in the Government’s response, it is Galindo’s

extensive criminal history that weighs heaviest against his request for early

termination. With charges ranging from burglary to possession of drugs and

firearms to battery, Galindo has consistently been involved in the criminal

justice system since the age of eighteen. Most of the gaps in his criminal record

can either be accounted for as periods of incarceration or reflect arrests for

crimes not prosecuted. Either way, Galindo’s record reveals his inability to

remain within the parameters of the law.

      Upon considering the factors in 18 U.S.C. § 3553(a), a court may

“terminate a term of supervised release and discharge the defendant released

at any time after the expiration of one year of supervised release . . . if it is

satisfied that such action is warranted by the conduct of the defendant released

and in the interest of justice[.]” 18 U.S.C. § 3583(e)(1).

      After reviewing the pleadings and the record against the § 3553(a)

factors, the Court does not find that the interest of justice or the Defendant’s




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conduct warrant early termination of supervision. The Court thus denies the

motion.

     Accordingly, it is now

     ORDERED:

     Defendant Galindo’s Motion for Early Termination of Supervised

Release (Doc. 94) is DENIED.

     DONE AND ORDERED in Fort Myers, Florida on December 30, 2020.




Copies: Counsel of Record




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